              Case 22-10609-amc                           Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                             Desc
                                                            Support Documents Page 1 of 28


In re: Scungio Borst & Associates, LLC                                                                                        Case No. 22-010609 (AMC)
                       Debtor                                                                                                 Reporting Period.: July 31, 2022
                                              SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1). Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-I (CON'T)]

                                                                                                                                                                               II l\(. lODMI

                                                                                                          ACTUAL          i       PROJECTED                ACTUAL                 PROJECTED
                                                                                         I         0                                                  1          140501,87
CASH BEGINNING OF MONTH                          139644.5          857.37            0                       140501.87



RI ( HI'l'*                                                                                                                                          ■1^1
CASH SALES                                                0              0           0             0                  0                          0                        0                    0

ACCOUNTS RECEIVABLE                                       0              0           0             0                  0                          0                78856,17                     0

LOANS AND ADVANCES                                        0              0           0             0                  0                          0                        0                    0

SALE OF ASSETS                                            0              0           0             0                  0                          0                        0                    0

OTHER (ATTACH LIST)                                       0       4611.43            0             0           4611,43                           0                38954,03                     0

TRANSFERS (FROM DIP ACCTS)                                0          8000                          0               8000                          0                   40000                     0

                                                                                                                                                                          0                    0

    TOTAL RECEIPTS                                        0      12611.43            01            0          12611.43                           0                157810.2                     0

                                                                                                                                                          lusiWwO
.......................................

NET PAYROLL                                               0       6135.26            0             0           6135.26                                            46169.22

PAYROLL TAXES                                             0        1883.1            0             0             1883.1                                           18263.98

SALES. USE. & OTHER TAXES                                 0              0           0             0                  0                                                   0

INVENTORY PURCHASES                                       0              0           0             0                  0                                                   0

SECURED/ RENTAL/ LEASES                                   0              0           0             0                  0                                             6939.4

INSURANCE                                        12682.72                0           0             0          12682,72                                            33953.42

ADMINISTRATIVE                                    1438.81           750.8            0             0           2189,61                                            23853.33

SELLING                                                   0              0           0             0                  0                                                   0

OTHER (ATTACH LIST)                                       0       4681,43            0             0           4681,43                                            29171.86

                                                                                                                                                                          0

OWNER DRAW *                                              0              0           0             0                  0                                                   0

TRANSFERS (TO DIP ACCTS)                            8000                 0           0             0               8000                                              54000

                                                                                                                                                                          0

PROFESSIONAL FEES                                         0             0            0             0                  0                                                   0

U.S. TRUSTEE QUARTERLY FEES                          250                0            0             0               250                                                 250

COURT COSTS                                               0             0            0             0                  0                                                   0

TOTAL DISBURSEMENTS                             22371.63         13450.59            0             0          35822.12                           0               212601,21                     0



NET CASH FLOW                                   -22371,53         -839.16            0             0          -23210,69                          0               -54791.01                     0

(RECEIPTS LES.S DISBURSEMENTS)

                                                                                                      isjBBBsSaSMSSS*
CASH - END OF MONTH                           | 117272.971                               1         o| I       117291.18                              1I          117291.18 1
                                                                    18.21           0

* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE



                                                                   THE FOLLOWING SECTION MUST BE COMPLETED
Ul^BI RSI MI.MN IOU< \l (I I \1IMU'                I UI       11 1 UI \R 11 RI   II 1s       U ROM ( I Rid \ I MOM II \< 11 Al (OH MM___                                       _________________

TOTAL DISBURSEMENTS                                                                                                                                                                     35822.12

   LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                                                                         8000

   PLUS:            ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e, from escrow accounts)                                                                                                   0

TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                                                         27822.12




                                                                                                                                                                                                   FORM MOR-I
                                                                                                                                                                                                        10.|/07>
        Case 22-10609-amc                       Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                        Desc
                                                  Support Documents Page 2 of 28

In re     Scungio Borst & Associates, LLC                                                     Case No. 22-10609(AMC)
                       Debtor                                                                 Reporting Period.: July 31, 2022



                 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS - continuation sheet



BRI . ............................. Ill R'( M 1 <;OK^

Olhcr Receipts
                                                          SSHlB®
                                                                   ..........   ■■        1                ■

Employee COBRA Health Insurance Payments                                              0                            15866.89
Stark & Stark repayment of Las Vegas shared event costs                               0                                   0
Improper Deposit of Funds into DIP account, Non-SBA AR.                               0                                6450
Check Returns for Unsufficient Funds                                            4611.43                             5007.43




Other Dishursements
Amerihealth N.T - Employee Cobra and Existing Employees                            0.00                           25154.60
United Concordia Dental                                                            0.00                             335.83
Bounced Withdrawal Fee                                                            70.00                              70.00
Unsuccessful Payroll Payments                                                   4611.43                            4611.43
Case 22-10609-amc                           Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                   Desc
                                              Support Documents Page 3 of 28
    10:49 PM                                                            Scungio Borst & Associates
    08/22/22                                                    Cash Receipts & Disbursements
                                                                                      July 2022

                    Type           Date              Name                           Account             CIr   __________ Split__________      Debit   Credit

    Jul 22
             Check             07/01/2022    Paychex                   1006 -DIP SBA Payroll            X     6564 • Payroll                              3,462.59
             Check             07/01/2022    Paychex TPS Taxes         1006-DIP SBA Payroll             X     6821 • Payroll taxes                        1,148.84
             Check             07/01/2022    Paychex                   1006- DIPSBAPayroll              X     6287 • H/R & Payroll Services                 313.90
             Check             07/05/2022    TD Bank                   1006-DIP SBA Payroll             X     6120 • Bank Service Charges                    70.00
             Transfer          07/06/2022                              1005 • DIP SBA Operations-7302   X     1006-DIP SBA Payroll                        5,000.00
             Bill              07/08/2022    Amerihealth               2000 • Accounts Payable                Employee Health Insurance                  12,682.72
             Bill Pml-Check    07/08/2022    Ameriheailh               1005 • DIP SBA Operations-7302   X     2000 • Accounts Payable                    12,682.72
             Bill              07/14/2022    Iron Mountain             2000 - Accounts Payable                6291-Storage Rentals                        1,156.57
             Bill Pml -Check   07/14/2022    Iron Mountain             1005 • DIP SBA Operations-7302   X     2000 • Accounts Payable                     1,156.57
             Transfer          07/14/2022                              1005 • DIP SBA Operations-730Z   X     1006-DIP SBA Payroll                        3,000.00
             Check             07/15/2022    Paychex                   1006 -DIP SBA Payroll            X     6564 - Payroll                              2,139.22
             Check             07/15/2022    Paychex TPS Taxes         1006-DIP SBA Payroll             X     6821 - Payroll taxes                          625.16
             Check             07/15/2022    Paychex                   1006-DIP SBA Payroll             X     6287 - H/R & Payroll Services                 436.90
             Bill              07/18/2022    Verizon Wireless          2000 • Accounts Payable                6342 - Wireless Phones                        282.24
             Bill Pml -Check   07/18/2022    Verizon Wireless          1005 ■ DIP SBA Operations-7302   X     2000 - Accounis Payable                       282.24
             Bill              07/22/2022    United States Bankru...   2000 - Accounts Payable                6270 - Professional Fees                      250.00
             Bill Pml-Check    07/22/2022    United States Bankru...   1005 • DIP SBA Operations-7302   X     2000 - Accounis Payable                       250.00
             Check             07/29/2022    Paychex                   1006 -DIP SBA Payroll            X     6564 - Payroll                                533.45
             Check             07/29/2022    Paychex TPS Taxes         1006-DIP SBA Payroll             X     6821 - Payroll taxes                          109.10
    Jul 22




                                                                                                                                                           Page 1
        Case 22-10609-amc                                 Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                                                                Desc
                                                            Support Documents Page 4 of 28


In re    Scungio Borst & Associates, LLC                                                                                                                                               Case No. 22-10609(AMC)
                     Debtor                                                                                                                                                            Reporting Period.: July 31, 2022


                                                                                     BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                                                 \l
                                                                                                                                          OR.IV.MOMU
                                                                                                                                                   •                       •

Unrestricted Cash and Equivalents                                                            $                                                                 117,291.18              $                                     115,082.19
Restricted Cash and Cash Equivalents (see continuation sheet)                                $                                                                              -          $
Accounts Receivable (Net)                                                                    $                                                             2,327,758.07
Notes Receivable                                                                             $                                                                                         $                                             -
Inventories                                                                                  $                                                                                         $
Prepaid Expenses                                                                             $                                                                              -          $
Professional Retainers                                                                       $                                ______________________ -                                 $
Other Current Assets (attach schedule)                                                       $                                                                  33,420.00              $                                      37,220.00
TOTAL CURRENT ASSETS                                                                         s                                                             2.-/78.-/69.25              5                                   2,480,060.26
PKOITRIY VMH-QI IPMJM                                                                        ...................................................................................
Real Property and Improvements                                                               $                                                                                         $
Machinery and Equipment                                                                      $                                                                                         $                                             -
Furniture, Fixtures and Office Equipment                                                     $                                                                                         $
Leasehold Improvements                                                                       $                                                                                         $
Vehicles                                                                                     $        •                                                                     -          $
Less Accumulated Depreciation                                                                $                                                                                         $                                             -
TOTAL PROPERTY & EQUIPMENT                                                                   5                                                                              -          5          ______________________
OlHIRysSl.ls                                                                                                                          ■
Loans to Insiders*                                                                           $                                                                                         $                                             -
Other Assets (attach schedule)**                                                             S                                                              1,553,642.26               S                                    1,553,642.26
TOTAL OTHER ASSETS                                                                           s                                                             1,553.6-12.26               S                                   1,553,642.26




                                                                                                  KOOk^VIll M I M)OI
                                                                                             ( 1 liKL> 1 li 1 p()Kii\(. \i<:IMII
IIAKIIiril.SMn <;{ IUI\ t IOCQMPHOMIM t                                                                                                                                            Isitti
Accounts Payable                                                                             $                                                                              -          $                                             -
Taxes Payable (refer to FORM MOR-4)                                                          $                                                                                         $
Wages Payable                                                                                $                                                                                         $                                             -
'lotes Payable                                                                               $                                                                                         $
Rent / Leases - Building/Equipment                                                           $                                                                              -          $
Secured Debt! Adequate Protection Payments                                                   $                                                                              -          $
Professional Fees                                                                            $                                                                                         $                                             -
Amounts Due to Insiders*                                                                     $                                                                                         $                                             -
Other Postpetition Liabilities (attach schedule)                                             $                                                                                         $
TOTAL POSTPETITION LIABILITIES                                                               5                                                                                         s                                             -
                                                                                                                     ■
LIABIUTIES SUBJECT TO COMPROMISE (Prc-Petition)
Secured Debt                                                                                 $                                                             4,144,328.72                $                                   4,144,328.72
Priority Debt                                                                                $                                                                     3,470,07            $                                       3,470.07
Unsecured Debt                                                                               $                                                             7,814,716.11                $                                   8,216,566.74
TOTAL PRE-PETITION LIABILITIES                                                               5                                                           11,962,514.90                 s                                  12,364.365.53
                                                                                                                                                                       ■
\TOTAL LIABILITIES                                                                         Is                                                            11,962,514.90 Is                                                 12,364,365.53
(mipt\} loiin .M-.i HORIII                                                                                           IP«S»                                (7,930,403.39)
                                                                                                                                                                                   BilMI
OH \tRLOLin
Capital Stock                                                                                $                                                                              -          s
Additional Paid-In Capital                                                                   $                                                                                         $                                             -
Partners’ Capital Account                                                                    $                                                                 (53,402.52) s                                                  (53,402.52)
Owner's Equity Account                                                                       $                                                                              -          $
Retained Earnings - Pre-Petition                                                             s                                                             2,835,489.87                $                                   2,835,489.87
Retained Earnings - Postpetition                                                             $                                                                                         $                                             -
Adjustments to Owner Equity (attach schedule)                                                $                                                          (11,254,395.66) $                                                 (11,117,074.87)
Postpetition Contributions (Distributions) (Draws) (attach schedule)                         $                                                                                         s
NET OWNER EQUITY                                                                             s                                                            (8,472,308.31) 5                                                 (8,334,987.52)
                                                                                                                     ■                                                             ■                               ■
roi U.I.lAIill UII.S AM)O«M US' EQl 11 V                                                   iSSilSlil                                                       3,490,206 59                -•                                  gfi29.3IMl


*"lnsider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                                                                   1-ORM MOR-3
                                                                                                                                                                                                                                         (0-1/07)
Case 22-10609-amc                         Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                                              Desc
                                            Support Documents Page 5 of 28


In re   Scungio Borst & Associates, LLC                                                                                                                 Case No. 22-10609(AMC)
                   Debtor                                                                                                                               Reporting Period.: July 31,2022



                                                   BALANCE SHEET - continuation sheet

                                                                                        PfUII \ 11 1 1 IIIXUOI
                                                                                        IlOtlKMlll     ,1 1 Midi                                                           ■v,.. .....
                                                                                                                                                                   .....
                                                                                   (tnitlMR.rOK.IXGMtlMII                                                                  HHIXUI...
          rent Assets
           Sarina Chaudry - House Rental for out-of-town personnel             $                                                     3,200.00           $                                  3,200.00
           Security Deposit- Brandywine Executive Ctr aka TKO Suites           $                                                     1,200.00           $                                  1,200.00
           Security Deposit - Delaware River Port Authority Main Office        $                                                     5,750.00           $                                  5,750.00
           Office Furniture                                                    $                                                                        $                                  2,800,00
           Office Fixtures                                                     $                                                                        $                                  1,000.00
          2003 Proline 23 Sport                                                $                                                   14,090.00            $                                 14,090,00
          Load-Rite Tandem Trailer                                             $                                                     1,075.00           $                                  1,075.00
          2010 Carolina Skiff                                                  $                                                     7,810,00           $                                  7,810,00
          2010 Boat Trailer                                                    $                                                        295.00          $                                   295.00




          TOTAL OTHER CURRENT ASSETS                                           5                                                   33,420.00            5                                 37,220.00
Other Ass cs
          Employee Retention Credit 2020 Q2 941-X                              $                                                     8,081.39           $                                  8,081.39
          Employee Retention Credit 2020 Q3 941-X                              $                                                 126,680.17             $                              126,680.17
          Employee Retention Credit 2020 Q4 941-X                              $                                                     8,892.82           $                                  8,892.82
          Employee Retention Credit 2021 QI 941-X                              $                                                 198,724.00             $                              198,724.00
          Employee Retention Credit 2021 Q2 941-X                              $                                                 138,728.77             $                              138,728.77
          Employee Retention Credit 2021 Q3 941-X                              $                                                 212,150.22             $                             212,150.22
          Due from Millennial Place - BOE                                      $                                                 235,510.75             $                             235,510.75
          Loan to Chris DiGeorge                                               $                                                     5,000.00           $                                  5,000.00
          Loan to 418 Federal Partners (Library)                               $                                                 619,874.14             $                             619,874.14
          Mechanics Lien - SBA v. KPG-MCG Curtis Tenant et. al.                                                                    Unknown                                                Unknown
          SBA V. KPG-MCG Curtis Tenant, DAS et. al.                                                                                Unknown                                                Unknown



           TOTAL OTHER ASSETS                                                  S                                              1,553,642.26              s                           1,553,642.26
                                                                                        BOOkMIll M IMHll                                                           nix K \ \l I'l (l\
                                                                              ................................ .. .................. .......... .....
                 llAHILIIILS.WDOUM RLni I K                                   MURRl M Kl PORIIM; MOMII                                                             PI- llll(»\ UMI
Other Pos tpetition Liabili ies                                                                                                                                                                     11




           TOTAL OTHER POSTPETITIONS LIABILITIES                               $                                                                        $
AdiIi«f1-o^ntR.tr> Dwnpr Rnnitv


           Net Income                                                          $                                            (1,236,099,64) $                                       (1,098,778.85)
           Adjustment Pending Resolution of the Litigation                     $                                          (10,018,296,02) $                                       (10,018,296.02)



           TOTAL ADJUSTMENTS TO OWNER EQUITY                                  S                                           (} 1,254,395.66) 5                                      (11,117,074.87)
Postoelition Contributions (Distributions) (Draws)




           TOTAL POSTPETITIONS CONTRIBUTIONS                                   $                                                                        $                                       -




Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
into a separate account, such as an escrow account.




                                                                                                                                                                                          FORM MOR-3 CONPD
                                                                                                                                                                                                      (04/(17)
        Case 22-10609-amc                 Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                Desc
                                            Support Documents Page 6 of 28


In re    Scungio Borst & Associates, LLC                                            Case No. 22-10609(AMC)
                     Debtor                                                         Reporting Period.: .Inly 31,2022

                                               STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


 KI \ IMIS                                                                          BS ■■111                           l ilingtd Dnlc
Gross Revenues                                                                       $                    -      $                      -
Less: Returns and Allowances                                                         $                    -      $                      -
Net Revenue                                                                          $                    -      $                      -
(OSI OK (.GODS SOI n
Beginning Inventory                                                                  $                    -      $                      -
Add: Purchases                                                                       $                    -      $                      -
Add: Cost of Labor                                                                   $                    -      $                 8,800.21
Add: Other Costs (attach schedule)                                                   $                    -      $                      -
Less: Ending Inventory                                                               $                    -      $                      -
Cost of Goods Sold                                                                   $                    -      $                      -
Gross Profit                                                                         $                    -      $                 8,800.21
Ol'l RMIV: lAPLSSKS                                                                      1
Advertising                                                                          $                    -    $                      -
Auto and Truck Expense                                                               $                    -    $                      -
Bad Debts                                                                            $                    -    $                      -
Contributions                                                                        $                    -    $                      -
Employee Benefits Programs                                                           $              12,682.72  $                29,054.20
Insider Compensation*                                                                $                    -    $                      -
Insurance                                                                            $                    -    $                      -
Management FeesZBonuses                                                              $                    -    $                      -
Office Expense                                                                       $                         $                 1,296.82
Pension & Profit-Sharing Plans                                                       $                         $                      -
Repairs and Maintenance                                                              $                    -    $                      -
Rent and Lease Expense                                                               $               1,156.57 $                  4,626.27
Salaries/Commissions/Fees                                                            $               6,135.26 $                 17,680.16
Supplies                                                                             $                    -    $                      -
Taxes - Payroll                                                                      $               1,883.10 $                 10,005.34
Taxes - Real Estate                                                                  $                    -    $                      -
Taxes - Other                                                                        $                    -    $                      -
Travel and Entertainment                                                             $                         $                      -
Utilities                                                                            $                    -    $                      -
Other (attach schedule)                                                              $               1,103.04 $                 14,493.70
Total Operating Expenses Before Depreciation                                         $              22,960.69 $                 77,156.49
Depreciation/Depletion/Amortization                                                  $                    -    $                      -
Net Profit (Loss) Before Other Income & Expenses                                     $             (22,960.69) $               (68,356.28)
OTHER INCOME AND EXPl.\SIS
Other Income (attach schedule)                                                       $                    -      $                    -
Interest Expense                                                                     $                    -      $                    -
Other Expense (attach schedule)                                                      $                    -      $                    -
Net Profit (Loss) Before Reorganization Items                                        $             (22,960.69)   $             (68,356.28)
REORfiANIZATION H EMS
Professional Fees                                                                    $                    -      $                    -
U. S. Trustee Quarterly Fees                                                         $                 250.00    $                 750.00
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)         $                    -      $                    -
Gain (Loss) from Sale of Equipment                                                   $                    -      $                    -
Other Reorganization Expenses (attach schedule)                                      $                    -      $                    -
Total Reorganization Expenses                                                        $                 250.00    $                 750.00
Income Taxes                                                                         $                    -      $                    -
Net Profit (Loss)                                                                    $             (23,210.69)   $             (69,106.28)

^"Insider" is defined in 11 U.S.C. Section 101(31).



                                                                                                                                              FORM MOR-2
                                                                                                                                                   (04/07)
        Case 22-10609-amc                Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                             Desc
                                           Support Documents Page 7 of 28


In re    Scungio Borst & Associates, LLC                                                                   Case No. 22-10609(AMC)
                     Debtor                                                                                Reporting Period.: .Inly 31, 2022



                                  STATEMENT OF OPERATIONS - continuation sheet



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                                                                          1




Ollier Opel alion.il !■ xpeiiso
Bank Service Charges                                                                               70.00                          118.29
Employee Health Insurance                                                                           0.00                        10635.35
HR & Payroll Services                                                                             750.80                         2220.70
Wireless Phones                                                                                   282.24                         2238.37
NJEZPass                                                                                            0.00                            0.00

Other liionie




Olhri lApen'.e'.




Other Reorganization 1- xpeiues




Reorganization Items - Interest Earned on Aeeumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                                   FORM MOR-2 CONT'D
                                                                                                                                               (04/07)
Case 22-10609-amc           Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                         Desc
                              Support Documents Page 8 of 28
    12:23 AM                                    Scungio Borst & Associates
    08/23/22                                                Profit & Loss
    Accrual Basis                                               July 2022

                                                                                        Jul 22

                      Ordinary Income/Expense
                           Expense
                              6120 • Bank Service Charges                                                 70.00
                              6182 • Health Insurance
                                 Employee Health Insurance                  ______________ 12,682.72

                             Total 6182 * Health Insurance                                          12,682.72

                                 6270 • Professional Fees
                                   6287 • H/R & Payroll Services                                750.80
                                    6270 ' Professional Fees - Other                            250.00

                             Total 6270 • Professional Fees                                          1,000.80

                                 6290 • Rent
                                    6291- Storage Rentals                   _______________ 1,156.57

                             Total 6290 ■ Rent                                                       1,156.57

                                 6390 ■ Utilities
                                    6340 • Telephone
                                       6342 ■ Wireless Phones               __________ 282.24

                                   Total 6340 • Telephone                   _________________282.24

                             Total 6390 ■ Utilities                                                      282.24

                                 6560 • Payroll Expenses
                                    6564 • Payroll                                          6,135.26
                                    6821 • Payroll taxes                    _______________ 1,883.10

                             Total 6560 • Payroll Expenses                  _____________________ 8,018.36

                           Total Expense                                                            23,210.69

                      Net Ordinary Income                                                          -23,210.69

                    Net Income                                              ____________________ -23,210.69




                                                                                                                  Page 1
Case 22-10609-amc              Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                     Desc
                                 Support Documents Page 9 of 28
    7:58 AM                                         Scungio Borst & Associates
    08/23/22                                                Profit & Loss
    Accrual Basis                                      January through July 2022

                                                                                          Jan - Jul 22

                    Ordinary Income/Expense
                         Income
                            4070 ’ Miscellaneous Income                                                         1,220.54
                            4100 • Sales                                  ____________                        963,684.76

                         Total Income                                                                         964,905.30

                         Cost of Goods Sold
                           5000 ' Cost of Goods Sold                                                           62.432.82
                           5100 ■ Job Costs
                              5110 ■ Dumpsters                                                          160.60
                              6230 • Licenses and Permits                                               227.25
                              6750 • Subcontractors                                                 955.566.78
                              5100 • Job Costs - Other                    ____________              108,771.10

                           Total 5100 • Job Costs                                                           1,064,725,73

                            6565 • Employee Payroll                       ____________ ___ _______________ 4,038.45

                         Total COGS                                       ____________ _______________ 1,131,197.00

                      Gross Profit                                                                           -166,291.70

                         Expense
                           6120 ’ Bank Service Charges                                                         -8,008.92
                           6140 • Contributions                                                                -1,599.99
                           6160 ■ Dues and Subscriptions                                                        4,859.54
                           6165 ■ Training & Seminars                                                           1,261.67
                           6170 • Equipment Rental                i                                             1,515.96
                           6180 ’ Insurance
                              6188 “ GL/Prop/WC/Umb Insurance                                      17,996.86
                              6184 * Business Owners insurance                                      5,471.44
                              6195 * Travel Insurace                                                 -290.16
                              6420 * Work Comp                                                      1,636.00
                              6180 • Insurance - Other                    ____________ ____________ 2,084.02

                           Total 6180 • Insurance                                                              26,898.16

                            6182 • Health Insurance
                              Employee Health Insurance                                              81,989.28
                               6181 • Dental                              ____________                6,023.72

                           Total 6182 ■ Health Insurance                                                       88,013.00

                            6200 • Interest Expense
                               6210 • Finance Charge                                                  492.55
                               6220 • Loan Interest                       ____________ ___________ 13,704.33

                           Total 6200 ■ Interest Expense                                                       14,196.88

                           6250 * Postage and Delivery                                                              510.95
                           6260 * Printing and Reproduction                                                         928.76
                           6270 • Professional Fees
                              6280 * Legal Fees                                                      88,663.00
                              6285 • Registered Agents                                                    6.00
                              6287 • H/R & Payroll Services                                           7,668.07
                              6650 • Accounting                                                       2,635.81
                              6270 • Professional Fees - Other                                       50,050.00

                           Total 6270 • Professional Fees                                                     149,022.88

                           6230 • Rent
                              6291- Storage Rentals                                                10,227.57
                              6290 • Rent - Other                         ____________ ___________ 43,272.18

                           Total 6290 • Rent                                                                   53,499.75

                           6347 ■ Fuel                                                                          1,120.55
                           6350 • Travel & Ent
                              6360 • Entertainment                                                       1,573.11
                              6370 ■ Meals                                                               1,534.45
                              6380 • Travel
                                 6382 • Parking                                                  181.00
                                 6383 * Lodging                                                  360.02
                                 6385 • Car for Hire                                             162.17
                                 6380 • Travel - Other                    ____________         6,575.08

                              Total 6380 ■ Travel                                                        7,278,27

                           Total 6350 • Travel & Ent                                                           10,385.83

                           6377 • Financing fees Amex                                                               792.23
                           6390 • Utilities
                              6225 • Internet Service                                                    3,844.45
                              6340 • Telephone
                                 6341 • Office Phones                                          1,296.82
                                 6342 • Wireless Phones                                        8,494.33
                                 6343 • Fax Service                                      ________ 34.95

                              Total 6340 • Telephone                      ____________ ____________ 9,826.10

                           Total 6390 • Utilities                                                              13,670.55



                                                                                                                             Page 1
Case 22-10609-amc                  Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                         Desc
                                     Support Documents Page 10 of 28
     7:58 AM                                             Scungio Borst & Associates
     08/23/22                                                     Profit & Loss
     Accrual Basis                                         January through July 2022

                                                                                            Jan - Jul 22
                                  6539 ■ Business Software
                                    6540 • Software                                                   5.344.79
                                    6541 • Prepaid Software                    ______________________ 7,926.97

                                  Total 6539 • Business Software                                              13,271.76
                                  6550 * Office Supplies                                                        1,898.08
                                  6560 * Payroll Expenses
                                     6281 * Employee 401k                                            8,276.92
                                     6564 ■ Payroll                                                440,455.66
                                     6567 • Guaranteed Payments - Members                           15,000.00
                                     6821 • Payroll taxes                      ___________________ 182,648.35
                                  Total 6560 • Payroll Expenses                                              646,380.93
                                  6820 • Taxes
                                     6860 - State
                                        6861 • Pennsylvania
                                           City Tax                                     13,596.22

                                       Total 6861 ■ Pennsylvania               _______________ 13,596.22
                                    Total 6860 • State                         _____________________ 13,596.22
                                  Total 6820 • Taxes                                                          13.596.22
                                  9010 * Marketing
                                    9011 • Software Subscriptions                                     1,072.75
                                    9012 • Branding                                                   4.366.26
                                    9013 ■ Travel/Accomodations                                       5,240.53
                                    9014 ■ Website/Email                                              2,190.00
                                    9015 • Promotion/CMR                                                 25.00
                                    9017 • Memberships                                                   10.00
                                    9018 • Event Registrations                                        1,380.00
                                    9019 * Sponsorships                                              10.000.00
                                    9021 • Client Parties                                             2,643.31
                                    9024 • Project Swag                                                 100.00
                                    9025 • Good Solds                                                     5.38
                                    9026 * Lodging                                                    9,291.62
                                    9027 • Advertisement                                                578.00
                                    9029 • Other                                                        229.33
                                    9010 • Marketing - Other                   ________________________ 460.97
                                  Total 9010 ■ Marketing                                                      37,593.15
                            Total Expense                                                                  1,069,807.94
                       Net Ordinary Income                                                                 -1,236,099,64
                     Net Income                                                                            -1,236,099.64




                                                                                                                           Page 2
        Case 22-10609-amc                       Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                      Desc
                                                  Support Documents Page 11 of 28


In re     Scungio Borst & Associates, LLC                                                      Case No. 22-10609(AMC)
                      Debtor                                                                   Reporting Period.: July 31, 2022



                                 ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Reveh able Rccondllallon                                                                     A.nounl
Total Accounts Receivable at the beginning of the reporting period                                2,327,758.07
+ Amounts billed during the period                                                                        0.00
- Amounts collected during the period                                                                     0.00
Total Accounts Receivable at the end of the reporting period                                      2,327,758.07

......... .IS .............. .                                                                         Amount
0-30 days old                                                                                             0.00
31-60 days old                                                                                            0.00
61-90 days old                                                                                            0.00
91+ days old                                                                                      3,422,619.77
Total Accounts Receivable                                                                         3,422,619.77
Amount considered uncollectible (Bad Debt)                                                       -1,094,861.70
Accounts Receivable (Net)                                                                         2,327,758.07

                                                     DEBTOR QUESTIONNAIRE

Mum                                .......II.                                                           es
1. Have any assets been sold or transferred outside the normal course of business
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
   below.
4. Are workers compensation, general liability and other necessary insurance
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                         FORM MOR-5
                                                                                                                              (04/07)
         Case 22-10609-amc                                                   Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                               Desc
                                                                               Support Documents Page 12 of 28


In re        Scungio Borst & Associates, LLC                                                                                                                            Case No. 22-10609(AMC)
                         Debtor                                                                                                                                         Reporting Period.: July 31,2022

                                                                               STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

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                                                                              .............
1 c.k I.ll                                                                                                                             Iw                                              1
Withholding
FICA-Employee                                                                                 0           241.15            241,15 7/15/22 & 7/29/2022                       EFT                          0
FICA-Employer                                                                                 0           241.14            241.14 7/15/22 & 7/29/2022                       EFT                          0
Unemployment                                                                                  0                0                 0                                           EFT                          0
Income                                                                                        0            152.4             152.4 7/15/22 & 7/29/2022                       EFT                          0
Other:                                                                   $
  Total Federal Taxes                                                                         0           634.69            634.69                                                                        0
       and       ..................................................... :                                                                    .........................
Withholding
Sales                                                                                         0                0                 0                                                                        0
Excise                                                                                        0                0                 0                                                                        0
Unemployment                                                                                  0            16.91             16,91 7/15/22 & 7/29/2022                        EFT                         0
Income                                                                                        0            75.32             75.32 7/15/22 & 7/29/2022                        EFT                         0
Real Property                                                                                 0                0                 0                                                                        0
Personal Property                                                                             0                0                 0                                                                        0
Other:NJ Disability, NJ Work Dev                                                              0             7,34              7,34 7/15/22 & 7/29/2022                        EFT                         0
  Total State and Local                                                                       0            99.57             99.57                                                                        0
Total Taxes                                                                                   0           734.26            734.26                                                                        0



                                                                  SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                                                                                           .............
                                                                       Current                    0-30                                                                0,.«                 «
Accounts Payable
Wages Payable                                                                                 0                    0               0                               0                   0                  0
Taxes Payable                                                                                 0                    0               0                               0                   0                  0
Rent/Leases-Building                                                                          0                    0               0                               0                   0                  0
Rent/Leases-Equipment                                                                         0                    0               0                               0                   0                  0
Secured Debt/Adequate Protection Payments                                                     0                    0               0                               0                   0                  0
Professional Fees                                                                             0                    0               0                               0                   0                  0
Amounts Due to Insiders*                                                                      0                    0               0                               0                   0                  0
Other: Storage Units (1)                                                                      0                    0               0                               0                   0                  0
Other:                                                                                        0                    0               0                               0                   0                  0
Total Postpetition Debts                                                                      0                    0               0                               0                   0                  0

Explain how and when the Debtor intends to pay any past-due postpetition debts.
     (1) Storage Units: only one original unit remains, Closure to occur 6/30/2022; One new storage unit will remain for long term file storage. Storage at Iron Mountain remains


*"Insider"is defined in II U.S.C. Section 101(31).




                                                                                                                                                                                                                FORM MOR-4
                                                                                                                                                                                                                     (04/07)
        Case 22-10609-amc             Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25              Desc
                                        Support Documents Page 13 of 28

In re    Scungio Borst & Associates, LLC                                          Case No. 22-10609(AMC)
                      Debtor                                                      Reporting Period.: July 31, 2022



                           SCHEDULE OF PAYMENTS TO INSIDERS - continuation sheet




                                                                                                                 |8H®
                                                                                                 1
                                                                                   11


                                                                                                       g
                                                                                               ?
                                                                                                       S.
                                                                Month
                                                      .... 11
rnments to Insiders

Payment to Scott Scungio as an employee (gross pay)                     3076.92                             13592.3
                   Case 22-10609-amc                         Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                     Desc
                                                               Support Documents Page 14 of 28




0025 1708-2676 Scungio Borst & Associates LLC                             CASH REQUIREMENTS
CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR ELECTRONIC FUNDS TRANSFERS (EFT) FOR CHECK DATE                                            08/12/22: $1 ,766.97

IMPORTANT COVID-19 INFORMATION: If you filed IRS Form 7200, please notify your Paychex representative to avoid owing a balance at the end of the quarter and ensure your
Form 941 is accurate.
TRANSACTION SUMMARY_________________________________ ________________________________ _____________________________________________________

  SUMMARY BY TRANSACTION TYPE -                      TOTAL ELECTRONIC FUNDS TRANSFER (EFT)                                     1,766.97
                                                       CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR EFT                                         1,766.97
                                                     TOTAL REMAINING DEDUCTIONS / WITHHOLDINGS / LIABILITIES                                    0^
                                                       CASH REQUIRED FOR CHECK DATE 08/12/22                                                1.766.97


TRANSACTION DETAIL

ELECTRONIC FUNDS TRANSFER - Your financial institution will initiate transfer to Paychex at or after 12:01 A.M.on transaction date.
                                                                                                                                                                   BANK DRAFT AMOUNTS
     TRANS. DATE              BANK NAME                    ACCOUNTNUMBER              PRODUCT                 DESCRIPTION                                              & OTHER TOTALS
       08/15/22               TD BANK                      XXXXXXXXXXXXXX427          Direct Deposit          Net Pay Allocations                      1,348,21                1,348.21


        08/15/22              TD BANK                      XXXXXXXXXXXXXX427          Taxpay®                 Employee Withholdings
                                                                                                                Social Security                         101.70
                                                                                                                Medicare                                 23.79
                                                                                                                Fed Income Tax                          116.94
                                                                                                                NJ Income Tax                             0.95
                                                                                                                NJ Disability                             0.29
                                                                                                                NJ Unemploy                               0.39
                                                                                                                NJ EE Work Dev                            0.04
                                                                                                                PA Income.Tax                            47.23
                                                                                                                PA Unemploy                               0.92
                                                                                                                    Total Withholdings                  292.25
                                                                                                              Employer Liabilities
                                                                                                                Social Security                         101.70
                                                                                                                Medicare                                 23.79
                                                                                                                NJ Disability                             0.10
                                                                                                                NJ Unemploy                               0.80
                                                                                                                NJ ER Work Dev                            0.12
                                                                                                                        Total Liabilities               126.51                    418.76


                                                                                                                                            EFT FOR 08/15/22                   1,766.97

                                                                                                                                                  TOTAL EFT                    1,766.97


PAYCHEX WILL MAKE THESE TAX DEPOSIT(S) ON YOUR BEHALF ■ This information serves as a record of payment.

                                                                DUE DATE             PRODUCT                  DESCRIPTION
                                                                 08/17/22            Taxpay®                  FED IT PMT Group                            367.92




 0025 1708-2676 Scungio Borst & Associates LLC                                                                                                                              Cash Requirements
 Run Date 08/12/22 10:23 AM                                                      Period Start-End Date   07/24/22 - 08/06/22                                                        Pagel of 2
                                                                                 Check Date              08/12/22                                                                   CASHREQ
               Case 22-10609-amc                         Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                   Desc
                                                           Support Documents Page 15 of 28




0025 1708-2676 Scungio Borst & Associates LLC                        CASH REQUIREMENTS
CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR ELECTRONIC FUNDS TRANSFERS (EFT) FOR CHECK DATE 08/12/22: $1 ,766.97



Paychex     will make these tax           DEPOSIT(S)   on your behalf     (cont.) - This information serves as a record of payment.

                                                              DUE DATE               PRODUCT                    DESCRIPTION
                                                               08/17/22              Taxpay®                    NJ Income Tax          0.95
                                                               08/17/22              Taxpay®                    PA IT PMT Group       47.23




0025 1708-2676 Scungio Borst & Associates LLC
                                                                                                                                                     Cash Requirements
Run Date 08/12/22 10;23AM                                                     Period Start - End Date   07/24/22 - 08/06/22                                  Page 2 of 2
                                                                              Check Date                08/12/22                                             CASHREQ
                   Case 22-10609-amc                         Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                     Desc
                                                               Support Documents Page 16 of 28




0025 1708*2676 Scungio Borst & Associates LLC                              CASH REQUIREMENTS
CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR ELECTRONIC FUNDS TRANSFERS (EFT) FOR CHECK DATE                                               07/29/22; $642.55

IMPORTANT COVlD-19 INFORMATION: If you filed IRS Form 7200, please notify your Paychex representative to avoid owing a balance at the end of the quarter and ensure your
Form 941 is accurate.
TRANSACTION SUMMARY______________________________________________________________________________________________________________ ________

  SUMMARY BY TRANSACTION TYPE -                      TOTAL ELECTRONIC FUNDS TRANSFER (EFT)                                        §42^
                                                       CASH REQUIRED FOR NEGOTIABLE CHECKS &/0R EFT                                             642.55
                                                     TOTAL REMAINING DEDUCTIONS / WITHHOLDINGS / LIABILITIES                                      0^
                                                       CASH REQUIRED FOR CHECK DATE 07/29/22                                                    642.55


TRANSACTION DETAIL

ELECTRONIC FUNDS TRANSFER - Your financial institution will initiate transfer to Paychex at or after 12:01 A.M. on transaction date.
                                                                                                                                                                    BANK DRAFT AMOUNTS
     TRANS. DATE              BANK NAME                    ACCOUNT NUMBER               PRODUCT                 DESCRIPTION                                             A OTHER TOTALS
       07/29/22               TD BANK                      XXXXXXXXXXXXXX427            Direct Deposit           Net Pay Allocations                     533.45                   533.45

        07/29/22              TD BANK                      xxxxxxxxxxxxxx427            Taxpay®                  Employee Withholdings
                                                                                                                   Social Security                        36.82
                                                                                                                   Medicare                                8.61
                                                                                                                   NJ Income Tax                           4.52
                                                                                                                   NJ Disability                           0.95
                                                                                                                   NJ Unempioy                             1.30
                                                                                                                   NJ EE Work Dev                          0.14
                                                                                                                   PA Income Tax                           7.79
                                                                                                                   PA Unemploy                             0.15
                                                                                                                       Total Withholdings                 60.28
                                                                                                                 Employer Liabilities
                                                                                                                   Social Security                        36.81
                                                                                                                   Medicare                                8.61
                                                                                                                   NJ Disability                           0.34
                                                                                                                   NJ Unemploy                             2.66
                                                                                                                   NJ ER Work Dev                          0.40
                                                                                                                           Total Liabilities              48.82                   109.10

                                                                                                                                               EFT FOR 07/29/22                  642.55

                                                                                                                                                    TOTAL EFT                    642.55


PAYCHEX WILL MAKE THESE TAX DEPOSIT(S) ON YOUR BEHALF - This information serves as a record of payment.

                                                                DUE pate               PRODUCT                  DESCRIPTION
                                                                 08/03/22              Taxpay®                  FED IT PMT Group                            90,85
                                                                 08/03/22              Taxpay®                  NJ income Tax                                4.52




 0025 1708-2676 Scungio Borst & Associates LLC                                                                                                                              Cash Requirements
 Run Date 07/28/22 04:23 PM                                                       Period Start - End Date   07/10/22-07/23/22                                                       Page 1 of 2
                                                                                  Check Date                07/29/22                                                                CASHREQ
               Case 22-10609-amc                 Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                          Desc
                                                   Support Documents Page 17 of 28




0025 1708-2676 Scungio Borst & Associates LLC
                                                               CASH REQUIREMENTS
CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR ELECTRONIC FUNDS TRANSFERS (EFT) FOR CHECK DATE 07/29/22: $642.55



PAYCHEX WILL MAKE THESE TAX DEPOSIT(S) ON YOUR BEHALF (cont.) - This information serves as a record of payment.

                                                       DUE DATE            PRODUCT                  DESCRIPTION
                                                        08/03/22           Taxpay®                  PA IT PMT Group   7.79




0025 1708*2676 Scungio Borst & Associates LLC
                                                                                                                                    Cash Requirements
Run Date 07/28/22 04:23 PM                                          Period Start - End Date   07/10/22-07/23/22                             Page 2 of 2
                                                                    Check Date                07/29/22                                      CASHREQ
                   Case 22-10609-amc                         Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                        Desc
                                                               Support Documents Page 18 of 28




0025 1708-2676 Scungio Borst & Associates LLC                              CASH REQUIREMENTS
CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR ELECTRONIC FUNDS TRANSFERS (EFT) FOR CHECK DATE                                               07/15/22: $2,764.38

IMPORTANT COVID-19 INFORMATION: If you filed IRS Form 7200, please notify your Paychex representative to avoid owing a balance at the end of the quarter and ensure your
Form 941 is accurate.
TRANSACTION SUMMARY

   SUMMARY BY TRANSACTION TYPE -                     TOTAL ELECTRONIC FUNDS TRANSFER (EFT)                                        2,764.38
                                                       CASH REQUIRED FOR NEGOTIABLE CHECKS &/0R EFT                                            2,764.38
                                                     TOTAL REMAINING DEDUCTIONS / WITHHOLDINGS / LIABILITIES                                       0.00
                                                       CASH REQUIRED FOR CHECK DATE 07/15/22                                                   2,764.38


TRANSACTION DETAIL

ELECTRONIC FUNDS TRANSFER - Your financial institution will initiate transfer to Paychex at or after 12:01 A.M. on transaction date.
                                                                                                                                                                      BANK DRAFT AMOUNTS
     TRANS. DATE              BANK NAME                    ACCOUNT NUMBER              PRODUCT                   DESCRIPTION                                               & OTHER TOTALS
       07/15/22               TD BANK                      XXXXXXXXXXXXXX427           Direct Deposit            Net Pay Allocations                      2,139.22                2,139.22

        07/15/22              TD BANK                      XXXXXXXXXXXXXX427           Taxpay®                   Employee Withholdings
                                                                                                                   Social Security                         158.62
                                                                                                                   Medicare                                 37.10
                                                                                                                   Fed Income Tax                          152.40
                                                                                                                   NJ Income Tax                            15.78
                                                                                                                   NJ Disability                             2.86
                                                                                                                   NJ Unemploy                               3.90
                                                                                                                   NJ EE Work Dev                            0.43
                                                                                                                   PA Income Tax                            47.23
                                                                                                                   PA Unemploy                               0.92
                                                                                                                       Total Withholdings                  419.24
                                                                                                                 Employer Liabilities
                                                                                                                   Social Security                         158.62
                                                                                                                   Medicare                                 37.10
                                                                                                                   NJ Disability                             1.02
                                                                                                                   NJ Unemploy                               7.98
                                                                                                                   NJ ER Work Dev                            1.20
                                                                                                                           Total Liabilities               205.92                    625.16


                                                                                                                                               EFT FOR 07/15/22                  2,764.38

                                                                                                                                                     TOTAL EFT                   2,764.38


PAYCHEX WILL MAKE THESE TAX DEPOSIT(S) ON YOUR BEHALF - This information serves as a record of payment.

                                                                DUE DATE             PRODUCT                   DESCRIPTION
                                                                 07/20/22            Taxpay®                   FED IT PMT Group                              543.84




 0025 1708-2676 Scungio Borst & Associates LLC                                                                                                                                 Cash Requirements
 Run Date 07/14/22 03:38 PM                                                      Period Start - End Date   06/26/22 - 07/09/22                                                         Pagel of 2
                                                                                 Check Date                07/15/22                                                                    CASHREQ
               Case 22-10609-amc                 Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                            Desc
                                                   Support Documents Page 19 of 28




0025 1708-2676 Scungio Borst & Associates LLC                  CASH REQUIREMENTS
CASH REQUIRED FOR NEGOTIABLE CHECKS &/OR ELECTRONIC FUNDS TRANSFERS (EFT) FOR CHECK DATE 07/1 5/22; $2,764.38



PAYCHEX WILL MAKE THESE TAX DEPOSIT(S) ON YOUR BEHALF (cont.) - This information serves as a record of payment.

                                                       DUE DATE           PRODUCT                    DESCRIPTION
                                                        07/20/22          Taxpay®                    NJ Income Tax     15.78
                                                        07/20/22          Taxpay®                    PA IT PMT Group   47.23




0025 1708-2676 Scungio Borst & Associates LLC
                                                                                                                                      Cash Requirements
Run Date 07/14/22 03:38PM                                           Period Start - End Date   06/26/22 - 07/09/22                             Page 2 of 2
                                                                    Check Date                07/15/22                                        CASHREQ
   Case 22-10609-amc     Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25               Desc
                           Support Documents Page 20 of 28


11:20 AM                            Scungio Borst & Associates
08/05/22                            Reconciliation Summary
                       1005 • DIP SBA Operations-7302, Period Ending 07/31/2022

                                                               Jul 31.22

                       Beginning Balance                                     139,644.50
                         Cleared Transactions
                           Checks and Payments - 6 items   -22,371,53

                          Total Cleared Transactions            -22,371,53

                       Cleared Balance                                     117,272,97

                       Register Balance as of 07/31/2022                     117,272,97

                       Ending Balance                                        117,272,97




                                                                                                 Page 1
   Case 22-10609-amc           Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                  Desc
                                 Support Documents Page 21 of 28


11:20 AM                                   Scungio Borst & Associates
08/05/22                                       Reconciliation Detail
                             1005 • DIP SBA Operations-7302, Period Ending 07/31/2022

                 Type             Date         Num          Name            CIr      Amount            Balance

           Beginning Baiance                                                                             139,644.50
               Cleared Transactions
                 Checks and Payments - 6 items
           Transfer          07/06/2022                                     X            -5,000.00        -5,000.00
           Bill Pmt -Check   07/08/2022              Am erihealth           X           -12,682.72       -17,682.72
           Transfer          07/14/2022                                     X            -3,000.00       -20,682.72
           Bill Pmt -Check   07/14/2022              Iron Mountain          X            -1,156.57       -21,839.29
           Bill Pmt-Check    07/18/2022              Verizon Wireless       X              -282.24       -22,121.53
           Bill Pmt -Check   07/22/2022              United States Ban...   X     ________ -250.00 _     -22,371.53

               Total Checks and Payments                                                -22,371.53 _      -22,371.53

             Total Cleared Transactions                                                 -22,371.53 _      -22,371.53

           Cleared Balance                                                              -22,371.53 _     117,272.97

           Register Balance as of 07/31/2022                                            -22,371.53       117,272.97

           Ending Balance                                                               -22,371.53 _     117,272.97




                                                                                                                          Page 1
Case 22-10609-amc           Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25              Desc
                              Support Documents Page 22 of 28


           America's Most Convenient Bank®      T     STATEMENT OF ACCOUNT




   SCUNGIO BORST AND ASSOCIATES LLC                   Page:                                   1 of 2
   DIP CASE 22-10609 EDPA                             Statement Period;    Jul 01 2022-Jul 31 2022
   2 RIVERSIDE DRIVE                                  Cust Ref #:          4408697302-039-T-###
   SUITE 500                                          Primary Account #:             440-8697302
   CAMDEN NJ 08103




Chapter 11 Checking
SCUNGIO BORST AND ASSOCIATES LLC                                                 Account # 440-8697302
DIP CASE 22-10609 EDPA


ACCOUNT SUMMARY
Beginning Balance                  139,644.50               Average Collected Balance           123,010.47
                                                            Interest Earned This Period               0.00
Electronic Payments                 22,371.53               Interest Paid Year-to-Date                0.00
Ending Balance                     117,272.97               Annual Percentage Yield Earned          0.00%
                                                            Days in Period                              31



DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE     DESCRIPTION                                                                       AMOUNT

07/06            eTransfer Debit, Online Xfer                                                     5,000.00
                    Transfer to CK 4408697427
07/08            CCD DEBIT, IBC EDI PAYMTS 34361080                                              12,682.72
07/14            eTransfer Debit, Online Xfer                                                     3,000.00
                    Transfer to CK 4408697427
07/14            CCD DEBIT, IRON MOUNTAIN BT0713 ****00184181630                                   1,156.57
07/18            ELECTRONIC PMT-WEB, ACHMA ViSB BILL PYMNT 3643252                                   282.24
07/22            CCD DEBIT, QUARTERLY FEE PAYMENT 0000                                               250.00
                                                                           Subtotal:             22,371.53


DAILY BALANCE SUhilMARY
DATE                                  BALANCE               DATE                                  BALANCE

06/30                              139,644.50               07/14                              117,805.21
07/06                              134,644.50               07/18                              117,522.97
07/08                              121,961.78               07/22                              117,272.97
Case 22-10609-amc                            Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                          Desc
                                               Support Documents Page 23 of 28

   How to Balance your Account
   Begin by adjusting your account register                        1     Your ending balance shown on this
   as follows:
                                                                         statement is:
   Subtract any services charges shown
   on this statement.                                              2.     List below the amount of deposits or
                                                                         credit transfers which do not appear
   Subtract any automatic payments,                                      on this statement. Total the deposits
   transfers or other electronic with­
   drawals not previously recorded.                                      and enter on Line 2.

   Add any interest earned if you have                             3.     Subtotal by adding lines 1 and 2.
   an interest-bearing account.
   Add any automatic deposit or                                    •1    List below the total amount of
   overdraft line of credit.                                             withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
   Review all withdrawals shown on this                                  and enter on Line 4.
   statement and check them off in your
   account register.
                                                                   5.     Subtract Line 4 from 3. This adjusted
   Follow instructions 2-5 to verify your                                balance should equal your account
   ending account balance.                                               balance.




                                                                        ©
  DEPO&rrS NOT               DOLLARS           CENTS                    WITHDRAWALS NOT      DOLLARS          CENTS                WITHDRAWALS NOT             DOLLARS          CENTS
  ON STATEMENT                                                          ON STATEMENT                                               ON STATEMENT




   Total Deposits
                                            ■ ' ■' ■
                                                                                                                                     Witharawals


  FOR CONSUiWFR ACCOUNTS ONLY...IK CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY -- BILLING RIGHTS
  QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
  If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
  error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                              If you think your bill is wrong, or if you need more information about a transaction on
  telephone the bank immediately at the phone number listed on the front of your
                                                                                              your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
  statementor write to:
                                                                                              possible. We must hear from you no later than sixty (60) days after we sent you the
  TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
  Maine 04243-1377                                                                            so Wil! not preserve your rights. In your letter, give us the following information:
  We must hear from you no later than sixty (60) calendar days after we sent you the              •        Your name and account number.
  first statement upon which the error or problem first appeared. When contacting the             •        The dollar amount of the suspected error.
  Bank, please explain as clearly as you can why you believe there is an error or why             •        Describe the error and explain, if you can, why you believe there is an error.
  more information is needed. Please include:                                                         If you need more information, describe the item you are unsure about.
      •      Your name and account number.                                                    You do not have to pay any amount in question while we are investigating, but you
      •      A description of the error or transaction you are unsure about.                  are still obligated to pay the parts of your bill that are not in question. While we
      •      The dollar amount and date of the suspected error.                               investigate your question, we cannot report you as delinquent or take any action to
  When making a verbal inquiry, the Bank may ask that you send us your complaint in           collect the amount you question.
  writing within ten (10) business days after the first telephone call.                        FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
  We will investigate your complaint and will correct any error promptly. If we take more     the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
  than ten (10) business days to do this, we will credit your account for the                 or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
  amount you think is in error, so that you have the use of the money during the time it      on the periodic statement as an easier method for you to calculate the finance
  takes to complete our investigation.                                                        charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue until the balance has been paid in full.
  INTEREST NOTICE                                                                             To compute the finance charge, multiply the Average Daily Balance times the Days in
  Total interest credited by the Bank to you this year will be reported by the Bank to the    Period times the Daily Periodic Rate (as listed in the Account Summary section on
  Internal Revenue Service and State tax authorities. The amount to be reported will be       the front of the statement). The Average Daily Balance is calculated by adding the
  reported separately to you by the Bank.                                                     balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
   Case 22-10609-amc   Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25               Desc
                         Support Documents Page 24 of 28


11:29 AM                         Scungio Borst & Associates
08/05/22                         Reconciliation Summary
                        1006 ■ DIP SBA Payroll, Period Ending 07/31/2022

                                                                  Jul 31, 22
                        Beginning Balance                                      857.37
                          Cleared Transactions
                            Checks and Payments - 9 items       -8,839.16
                            Deposits and Credits - 2 items       8,000.00

                          Total Cleared Transactions         _______ -839.16

                        Cleared Balance                                         18.21

                        Register Balance as of 07/31/2022                       18.21

                        Ending Balance                                          18.21




                                                                                               Page 1
   Case 22-10609-amc          Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                        Desc
                                Support Documents Page 25 of 28


11:29 AM                                    Scungio Borst & Associates
08/05/22                                        Reconciliation Detail
                                  1006 ■ DIP SBA Payroll. Period Ending 07/31/2022

                   Type           Date         Num         Name           CIr       Amount            Balance
           Beginning Balance                                                                                857.37
             Cleared Transactions
               Checks and Payments - 9 items
           Check             07/01/2022              Paychex              X             -3,462.59         -3,462.59
           Check             07/01/2022              Paychex TPS Tax...   X             -1,148.84         -4,611.43
           Check             07/01/2022              Paychex              X               -313.90         -4,925.33
           Check             07/05/2022              TD Bank              X                -70.00         -4,995.33
           Check             07/15/2022              Paychex              X             -2,139.22         -7,134.55
           Check             07/15/2022              Paychex TPS Tax...   X               -625.16-        -7,759.71
           Check             07/15/2022              Paychex              X               -436.90         -8,196.61
           Check             07/29/2022              Paychex              X               -533.45         -8,730.06
           Check             07/29/2022              Paychex TPS Tax...   X     _         -109.10         -8,839.16

               Total Checks and Payments                                                -8,839.16         -8,839.16

               Deposits and Credits - 2 items
           Transfer          07/06/2022                                   X              5,000.00         5,000.00
           Transfer          07/14/2022                                   X     ________ 3,000.00 _       8,000.00

               Total Deposits and Credits                                        _______ 8,000.00 _       8,000.00

             Total Cleared Transactions                                          ________ -839.16 _        -839.16

           Cleared Balance                                                       ________ -839.16 _             18.21

           Register Balance as of 07/31/2022                                     ________ -839.16 _             18.21

           Ending Balance                                                        ________ -839,16 _             18.21




                                                                                                                               Page 1
Case 22-10609-amc            Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                               Desc
                               Support Documents Page 26 of 28


            America's Most Convenient Bank®             T        STATEMENT OF ACCOUNT




   SCUNGIO BORST AND ASSOCIATES LLC                              Page:                                          1 of 3
   PAYROLL                                                       Statement Period;           Jul 01 2022-Jul 31 2022
   2 RIVERSIDE DRIVE                                             Cust Ref #:                 4408697427-039-T-###
   SUITE 500                                                     Primary Account #;                    440-8697427
   CAMDEN NJ 08103




Chapter 11 Checking
SCUNGIO BORST AND ASSOCIATES LLC                                                                     Account # 440-8697427
PAYROLL


ACCOUNT SUMMARY
Beginning Balance                        857.37                             Average Collected Balance                1,039.30
Electronic Deposits                   12,611.43                             Interest Earned This Period                  0.00
                                                                            Interest Paid Year-to-Date                   0.00
Electronic Payments                   13,380.59                             Annual Percentage Yield Earned             0.00%
Other Withdrawals                         70.00                             Days in Period                                 31
Ending Balance                            18.21



                                                    Total for this Period       Total Year-to-Date
                   Total Overdraft Fees                              $0.00                     $0.00
                   Total Returned Item Fees (NSF)                   $70.00                    $70.00


DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                                            A,MOUNT

07/05             ACH RETURNED ITEM, PAYCHEX INC. PAYROLL 0Pis2uwGDELfEU8                                            3,462.59
07/05             ACH RETURNED ITEM, PAYCHEX TPS TAXES ****1400001352X                                               1,148.84
07/06             eTransfer Credit, Online Xfer                                                                      5,000.00
                   Transfer from CK 4408697302
07/14             eTransfer Credit, Online Xfer                                                                      3,000.00
                   Transfer from CK 4408697302
                                                                                            Subtotal:              12,611.43
Electronic Payments
POSTING DATE      DESCRIPTION

07/01             CCD   DEBIT,   PAYCHEX INC. PAYROLL 0Pis2uwGDELfEU8                                                3,462.59
07/01             CCD   DEBIT,   PAYCHEX TPS TAXES ****1400001352X                                                   1,148.84
07/05             CCD   DEBIT,   PAYCHEX EIB INVOICE X****8900039600                                                   313.90
07/07             CCD   DEBIT,   PAYCHEX TPS RETRY PYMT ****2400003288X                                              1,148.84
07/13             CCD   DEBIT,   PAYCHEX INC. RETRY PYMT ****7500000006X                                             3,462.59
07/15             CCD   DEBIT,   PAYCHEX INC. PAYROLL hEu9Vo8UBHbcHfP                                                2,139.22
07/15             CCD   DEBIT,   PAYCHEX TPS TAXES ****060000151 OX                                                    625.16
07/18             CCD   DEBIT,   PAYCHEX EIB INVOICE X****7800011590                                                   436.90
07/29             CCD   DEBIT,   PAYCHEX INC. PAYROLL BySPKZAbkNfHwHb                                                  533.45
07/29             CCD   DEBIT,   PAYCHEX TPS TAXES ****6000001544X                                                     109.10
                                                                                            Subtotal:               13,380.59
Case 22-10609-amc                            Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                                                                         Desc
                                               Support Documents Page 27 of 28

   How to Balance your Account
   Begin by adjusting your account register                        1,    Your ending balance shown on this
   as foliows;
                                                                        statement is:
 • Subtract any services charges shown
   on this statement.                                              2.    List below the amount of deposits or
                                                                        credit transfers which do not appear
 ■ Subtract any automatic payments,                                     on this statement. Total the deposits
   transfers or other electronic with­
   drawals not previously recorded.                                     and enter on Line 2.

 • Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
   an interest-bearing account.
 • Add any automatic deposit or                                    4    List below the total amount of
   overdraft line of credit.                                            withdrawals that do not appear on
                                                                        this statement. Total the withdrawals
 • Review all withdrawals shown on this                                 and enter on Line 4.
   statement and check them off in your
   account register.
                                                                   5.    Subtract Line 4 from 3. This adjusted
 • Follow instructions 2-5 to verity your                               balance should equal your account
   ending account balance.                                              balance.




   e
   DEPOBITS NOT              DOLLARS           CENTS                                                                               WITHDRAWALS NOT            DOLLARS          CENTS
   ON STATEMENT                                                                                                                    ON STATEMENT




                                                                                                                                  ■TotaL
   total Deposits
                                                                                                                                    Withdrawals
                                                                                                                                                                                       o
  FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
  QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
  If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
  error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                             If you think your bill is wrong, or if you need more information about a transaction on
  telephone the bank immediately at the phone number listed on the front of your
  statement or write to:                                                                     your bill, write us at P.O. Box 1377, Lewiston. Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
  TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us. but doing
  Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
  We must hear from you no later than sixty (60) calendar days after we sent you the             •        Your name and account number.
  first statement upon which the error or problem first appeared. When contacting the            •        The dollar amount of the suspected error.
  Bank, please explain as clearly as you can why you believe there is an error or why            •        Describe the error and explain, if you can, why you believe there is an error.
  more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      •      Your name and account number.                                                   You do not have to pay any amount in question while we are investigating, but you
      •      A description of the error or transaction you are unsure about.                 are still obligated to pay the parts of your bill that are not in question. While we
      •      The dollar amount and date of the suspected error.                              investigate your question, we cannot report you as delinquent or take any action to
  When making a verbal inquiry, the Bank may ask that you send us your complaint in          collect the amount you question.
  writing within ten (10) business days after the first telephone call.                       FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
  We will investigate your complaint and will correct any error promptly. If we take more    the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
  than ten (10) business days to do this, we will credit your account for the                or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
  amount you think is in error, so that you have the use of the money during the time it     on the periodic statement as an easier method for you to calculate the finance
  takes to complete our investigation.                                                       charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
  INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
  Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
  Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
  reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
Case 22-10609-amc           Doc 152-1 Filed 08/24/22 Entered 08/24/22 10:35:25                Desc
                              Support Documents Page 28 of 28


           America's Most Convenient Bank®              STATEMENT OF ACCOUNT


   SCUNGIO BORST AND ASSOCIATES LLC
   PAYROLL                                              Page;                                  3 of 3
                                                        Statement Period:    Jul 01 2022-Jul 31 2022
                                                        Cust Ref #:          4408697427-039-T-###
                                                        Primary Account #:             440-8697427




DAILY ACCOUNT ACTIVITY_________________________________________________________________________________
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                         AMOUNT
07/05           OVERDRAFT RET                                                                           70.00
                                                                             Subtotal:                  70.00


DAILY BALANCE SUMMARY
DATE                                  BALANCE                 DATE                                 BALANCE

06/30                                   857.37                07/13                                  862.04
07/01                                -3,754.06                07/14                                3,862.04
07/05                                   473.47                07/15                                1,097.66
07/06                                 5,473.47                07/18                                  660.76
07/07                                 4,324.63                07/29                                   18.21
